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UNITED S'I`A'I`ES DISTRICT COURT . we #_`
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

 

 

Ror) WHEELER,
Plaintiff, _
_ - MEMoRANt)UM oscisioN
'agamsi“ l AND oRDER
TWENTY-FIRST CENTURY FOX, § 17 Civl 5807 (GBD)

FOX NEWS NETWORK LLC, MALIA
ZIMMERMAN, in her individual and professional
capacities, and ED BUTOWSKY, in his individual
and professional capacitie.s‘,

Defendants.

GEORGE B. DANIELS, United States District Judge:

Plaintiff Rod Wheeler brings this action asserting claims for defamation per se and, in the
alternative, defamation and libel per quod, against Dei`endant Fox NeWs Networl< LLC (“Fox News”),
its parent company, Defendant TWenty-First Century Fox, Inc. (“let Century Fox” and, With FoX
News, “Fox”), Fox News investigative journalist Defendant Malia Zimrnerman (With Fox, “the Fox
Defendants”), and Fox News contributor Defendant Ed Butowsky. (See Am. Compl., ECF No. 56.)
Plaintiff’s allegations principally arise out of Fox News’s coverage of his investigation into the'
murder of Seth Rich, a former Democratic National Connnittee (“DNC”) employee Who Was rumored

to have leaked sensitive, private entails from DNC servers to \iVil<iLeal<ts.1 (See id.)

 

l After this action Was filed, Seth Rich’s parents brought an action pending before this Court in Which they
assert claims for intentional infliction of emotional distress and tortious interference with contract, among
others, against Fox News, Zirnmerman, and Butowsky arising out of Fox News’s coverage of Wheeler’s
investigation into Seth Rich’s murder. (Compl., Rich v. Fc)x News Nehvork, LLC, No. lS-cv-2223 (S.D.N.Y.
Mar. 13, 2018), ECF No. 7.) The defendants in that case filed motions to dismiss, which are addressed in a
separate opinion filed today.

 

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Defendants move to dismiss PlaintifF s lawsuit in its entirety for failure to state a claim
pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedu.re.2 (ECF Nos. 74 and 78.) Butowsl<y
also moves for sanctions against Plairitiff and Plaintiff’s former counsel pursuant to Rule ll. (ECF
No. 43). Both Butowsl<y and Plaintiff request an award of attorneys’ fees and costs in connection
With the Rule 11 motion. (Mem. in Supp. of Butowsl<y’s Mot. for Sanctions (“Sanctions Mem.”),
ECF No. 44, at 4; Pl. Mem. in Opp’n to Butowsky’s Mot. for Sanctions (“Sanctions Opp’n”), ECF
No. 57, at 1.)

Defendants’ motions to dismiss for failure to state a claim are GRANTED. Butowsky’s
motion for sanctions and Butowsky’s and Plaintiff’s requests for attorneys’ fees and costs are
DENIED. l

I. FACTUAL BACKGROUND

On July 10, 2016, Seth Rich, a Democratic National Comrnittee (“DNC”) staff member, was
murdered (Am. Compl. il 77.) The Washington D.C. l\/ietropolitan Police Department (“MPDC”)
believed that the murder occurred in the course of a botched robbery. (Id.) In the weeks after the
murder, some individuals theorized that Rich was the source of DNC emails leaked to the media
organization WikiLeaks during the primaries for the 2016 presidential election, and that his murder
was related to the leak. (Id 1l 78.) However, others believed that Russian hackers leaked the emails
to WikiLeal<s in an attempt to sway the election in favor of then-candidate Donald Trurnp, and that
Rich’s murder was unrelated to the emails. (Id. jl‘|l 76-78, 85.)

Butowsky, a Fox News contributor, spoke with Seymour Hersh, an investigative journalist,
who claimed that he had received information regarding an FBI report about Rich’s murder. (Id.

ii 86.) Though he had not seen the report, Hersh said he had learned from “somebody on the inside”

 

2 The Fox Defendants also move, in the alternative, to compel arbitration and stay this action pursuant to the
Federal Arbitration Act, 9 U.S.C. § l et seq. (See ECF No. 38.)

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that the FBl report stated the MPDC had obtained a search warrant for Rich’s home and recovered
Rich’s computer (Id. 111l87-88.) According to Hersh, the report indicated that the FBI, at the
MPDC’s request, accessed the contents of Rich’s computer and found Rich submitted a series of DNC
emails to WikiLeaks. (Id.)

On Fe'oruary 23, 2017, Butowsky contacted Plaintiff, who has his own private investigative
consulting company, and explained that the Rich family wanted to hire an investigator to conduct an
independent investigation of Rich’s murder. (Id. 1i‘|l 6, 82-83.) On February 28, 2017, Plaintiff met
Butowsky and Zimmerman, an investigative journalist for Fox News who had been investigating
Rich’s death for several months, to discuss Plaintiff’ s possible investigation of Rich’s murder. (Id.
11 92.) According to Plaintiff, if the investigation confirmed Rich was murdered for leaking the emails,
Butowsky and Zimmerman hoped to use the information to discredit theories that Russians had done
so to influence the 2016 presidential election. (Id. 1[ 9.)

Plaintiff had multiple conversations with the Rich family over several weeks. (Id. 1] 94.) On
March 14, 2017, the Rich family and Plaintiff entered into a written agreement that Plaintiff would
conduct his own independent investigation “with regards to the official police investigation
surrounding the death of Seth Rich.” (Id 1[ 95 .) The agreement expressly stated that Butowsky would
pay the costs of the investigation (Id. 1] 99.) Thereafter, Plaintiff began interviewing Rich’s relatives,
co-workers, and friends. (Id. 1[ 102.) Plaintiff also reviewed evidence made available to him through
the MPDC. (Id.) While conducting his own investigation, Plaintiff kept Butowsky and Zimrnerman
informed of the steps he was taking, the people he had spoken to, and what records he had reviewed
(Id. ii 105.)

On April 25, 2017, Plaintiff met with Detective Joseph Della-Camera of the MPDC, who

stated that he believed Rich’s murder was the result of a botched robbery. (Id il 108.) Della~Camera

 

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said he had no information indicating Rich’s murder was related to the DNC emails and no knowledge
of any FBI involvement with the murder investigation (Id.)

On May l(), 2017, Butowsky and Zimmerman informed Plaintiff that they had a source at the
FBl who confirmed emails were sent between Rich and WikiLeaks. (Id. 11 112.) On May ll, 2017,
Zimmerman sent Plaintiff a draft of an article regarding Rich’s murder (the “Article”). (Id. ii il3.)
The draft did not contain any quotes from Plaintiff suggesting that Rich had sent emails to WikiLeaks
or suggesting that the DNC, Dernocratic Party, presidential candidate Hillary Clinton, or fenner
president Bill Clinton were involved in a cover~up of Rich’s murder. (Id.)

On Monday, l\/[ay 15, 2017, Zimmerman emailed Plaintiff that the Articie would be published
imminently. (Id. 11 119.) Plaintiff told Zirnmerman that he was traveling and would be unable to
review drafts of the Article that she sent him throughout the day. (Id. ii 120.) However, at
Zirnmerrnan’s request, Plaintiff sent Zirnmerman quotes for the Article. (Id.) A text message
containing one of Plaintiff s quotes read, in part:

Joe said that when l called the [MPDC] right after that Donna Brazii[e]
cailed him and was asking him why was l snooping around asking
questions about the death of Seth [Rich] . . . . i also spoke with another
source today who informed me that not only was Donna Brazil[e]
snooping around . . . but also . . . Debbie Wasserman Schultz was
snooping around wanting to know how much it was l [was] learning
(Decl. of David B. Harrison in Supp. (“Harrison Decl.”), Ex. 6, ECF No. 80~6, at 4_5.3) The text

message also stated, “you can add that l do strongly believe that the answers to who murdered {Rich]

sits on his computer on a shelf at the [MPDC] or FBI headquarters!” (Id. at 5.)

 

3 Though the text message and a transcript of Plaintift’ s interview with a Fox News affiliate, Fox 5 (the “Fox
5 Interview”) were not attached to the Amended Complaint, this Court may consider those materials because
they are “incorporated into the [Amended] [C]ompiaint by reference, . . . and documents possessed by or
known to the [Plaintiff and upon which [he} relied in bringing the suit.” ATSI Commc ’ns v. Shaar Fimd Ltd.,
493 F.3d 8?, 98 (2d Cir. 2007).

 

 

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That evening, the news program FoX 5 interviewed Plaintiff (Id. 11 122; see also Decl. of
.`ioseph M. Terry in Supp. (“Terry Decl.”), Ex. 5, ECF No. 76-5.) During the Fox 5 lnterview, when
asked, “You have sources at the FBI saying that there is information . , . that could link Seth Rich to
WikiLeaks?” Plaintiff responded, “Absolutely. Yeah. That’s confirmed” (Terry Decl., Ex. 5, at
3 :1 7-23 .)
In the same Fox 5 lnterview, Plaintiff stated that neither “[t]he [MPDC] nor the FBI have been
forthcoming; they haven’t been cooperating at all. l believe that the answer to solving [Rich’s] death
lies on that computer, which l believe is either at the police department or . . . the FBI.” (Id. at 4:10~
15.) Plaintiff further explained:
l have a source inside the [MPDC] that has looked me straight in the
eye and said, ‘Rod, we were told to stand down on this case and l can’t
share any information with you.’. . . l don’t think it comes from the
Chief’s office, but l do believe there is a correlation between the
Mayor’s office and the DNC and that is the information that’s going to
come out tomorrow.

(Id. at 3:23-4:8.)

The next day, FoX published the Article as the lead story on the FoXNews.com homepage.
(Am. Compl. 1[ 126.) The Aiticle, entitled Seth Rich, Slairi DC Siajj"er, Had Coniaci with WikiLeaks,
Say Muliiple Sources, listed Zimmerman as the author. (Am. Compl., Ex. A (“Article”), ECF No.
56-1, at 1.) The Article stated, among other things, “A federal investigator who reviewed an FBI
forensic report . . . detailing the contents [of] Rich’s computer said he made contact with WikiLeaks,”
and quoted the investigator as stating, “l have seen and read the emails between Seth Rich and
WikiLeaks.” (Id. at 1_2.)

The Article noted that the FBl investigator’s “revelation is consistent with the findings of Rod

Wheeler.” (Id. at 2.) ln discussing Plaintiff’s findings, the Article attributed a quote to Plaintiff (the

“Email Quote”) stating, “‘My investigation up to this point shows there was some degree of email

 

 

 

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exchange between Seth Rich and WikiLeaks,’ Wheeler said ‘l do believe that the answers to who
murdered Seth Rich sit[] on his computer on a shelf at the [MPDC] or FBI headquarters.”’ (Id.)
Another quote attributed to Plaintiff in the Article (the “Murder Investigation Quote”) stated, “‘My
investigation shows that someone within the D.C. government, Democratic National Cornrnittee or
Clinton team is blocking the murder investigation from going forward.’ Wheeler told Fox News.
‘That is unfortunate. Seth Rich’s murder is unsolved as a result of that.”’ (Id. at 3.)

Following the publication of the Article, the Rich family issued a statement condemning both
the Article and Plaintiff. (Id. 1[ 145.) ln response, Zimmerrnan sent an email to Joel Rich, Seth Rich’s
father, which included the statement (the “Email Statement”), “As you know, much of our information
came from . . . Rod Wheeler, who we understand was working on behalf of you.” (Id.) Plaintiff
learned of the Email Statement and told Zimmerman and Butowsky it was inaccurate because “much
of the information did not come from me.” (Id. 11 146.) Zimrnerman responded, “Not the part about
the emails. Not the part about, I mean, about the connection to WikiLeaks, but the rest of the quotes
in the story did A lot of the quotes in the story did.” (Id.)

In the same conversation, Butowsky told Plaintiff, “[O]ne day you’re going to win an award
for having said those things you didn’t say.” (Id.) ln a different conversation, when Plaintiff read
Butowsky the Email Quote, Butowsky stated, “Well I know that’s not true. . . . l’ve never heard you
say that” and “if l’m under oath, l would say i’ve never heard him say that.” (Id.)

On l\/lay 23, 2017, Fox News retracted the Article and issued a statement that said, in part,
“the l\/iay 16 [Article] Was not initially subjected to the high degree of editorial scrutiny we require
for all our reporting Upon appropriate review, the [A]rticle was found not to meet those standards
and has since been removed . . . We will continue to investigate this story and will provide updates

as warranted.” (Id. jj 150.)

 

 

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On iune 23, 2017, Plaintiff informed Defendants of his intent to seek legal counsel and assert
claims against Defendants based upon the Article. (ld. jj 174.) On .lune 26, 2017, Butowsky used the
social networking platform Twitter to send a tweet (the “DNC Tweet”) stating, “Fox News story was
pulled because Rod Wheeler said [hej didn’t say a quote . . . . How much did DNC pay him?”4 (Id.
jj 175.) Later that day, Butowsky sent another tweet (the “Truth Twect”) stating, “This shows Rod
Wheeler has a major battle with the truth. Everyone needs to hear this. He says the precise words he
swears he didn’t say‘??‘.?‘”5 (Id. jl 179.)

Plaintiff alleges that the criticism he faced from Butowsky’s tweets and from the media and
general public regarding the Article have caused him emotional distress, and his professional and
personal contacts have ostracized him. (Id. ji 168.) Plaintiff also alleges that 21st Century Fox and
Fox News have prevented Plaintiff from making further appearances on Fox News programs as a
contributor. (Id. jj 168.) ln addition, Plaintiff alleges his work as a private investigator has also
declined, as the negative attention he received has discouraged his existing and potential clients from
working with him. (Id. jl 169.)

II. LEGAL STANI)ARDS

A Rule 12(b)(6) motion challenges the legal sufficiency of the claims asserted in a complaint.”
Trustees of Upstaie N.Y. Eng’rs Pension Fund v. Ivy Asset Mgmi., 131 F. Supp. 3d 103, 119~»20
(S.D.N.Y. 2015). To survive such a motion, the plaintiff must plead “enough facts to state a claim to
relief that is plausible on its face.” Bell Ail. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

 

4 “A tweet is a short text post. . , delivered through lnternet or phone-based text systems to the author’s
subscribers” using Twitter, “a social networking and micro-blogging service.” United States v. Feng Ling Liu,
69 F. Supp. 3d 374, 377 (S.D.N.Y. 2014).

5 Plaintiff’ s Amended Cornplaint does not indicate What the word “this” in the Truth Tweet refers to. Butowsky
asserts that “this” was a reference to an audio recording of Plaintiff (See Butowsky Mern. in Supp. at 26.)

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reasonable inference that the defendant is liable for the misconduct alleged.” Ashcro]? v. Iql)al, 556
U.S. 662, 678 (2009). In deciding a Rule l2(b)(6) motion, a court °‘accept[sj all factual allegations
in the complaint as true . . . and draw[s] all reasonable inferences” in favor of the plaintiff Holmes
v. Grubman, 568 F.3d 329, 335 (2d Cir. 2009). A court is “not, however, ‘bound to accept conclusory
allegations or legal conclusions masquerading as factual conclusions.”’ Fal)er v. Meiro. Life Ins. Co. ,
648 F.3d 98, 104 (2d Cir. 2011) (quoting Rolon v. Henneman, 517 F.3d 140, 149 (2d Cir. 2008)).
III. THE AMENDED COMPLAINT FAILS TO STATE A CLAIM

All of Plaintiff’s claims sound in defamation6 Under Maryland law, the tort of defamation
has four elements: “(1) the defendant made a defamatory statement to a third person . . . ; (2) the
statement was false; (3) the defendant was legally at fault in making the statement; and (4) the plaintiff
thereby suffered harrn.”7 Meaney v. Nationstar Morigage, No. 16 Civ. 2959 (TDC), 2018 WL
1014927, at *14(D. Md. Feb. 21, 2018) (quoting Gohari v. Darvish, 767 A.2d 321, 327 (Md. 2001)).
But “the essence of a defamation claim is the publication of a falsehood.” Watkins v. Washirigion

Posi, No. 17 Civ. 818 (PWG), 2018 WL 805394, at *4 (D. Md. Feb. 9, 2018). Thus, “if a plaintiff

 

6 Plaintiff asserts claims for defamation, defamation per se, and libel per quod (See Arn. Compl.) “Libel is a
branch of the tort of defamation, which covers acts of written defamation.” Hodge v. Coll. ofS. Md., 121 F.
Supp. 3d 486, 503 (D. Md. 2015) (citation omitted). “Defamation per se is defamation on its face-i.e. the
‘words themselves impute the defamatory character.’ Defamation per quod occurs when the alleged
defamatory statement itself does not ‘impute the defamatory character’ but rather extrinsic facts are necessary
to do so.” Siillivan v, Cily ofFredericlc, No, 17 Civ. 1881 (JKB), 2018 WL 337759, at *8 (D. Md. Jan. 9, 2018)
(citations omitted). Because Plaintiff’s factual allegations in support of all three claims are substantially
identical, this Court considers all three claims together. (Com'pare Am. Compl. jiji 183-206 (defamation per
se), with id j]jl 207-30 (defamation); and jijl 231~54 (libel per quod).)

7 Where, as here, defamatory statements arc “published on the lnternet and . . . accessible
nationwide . . . . there is a presumptive rule that the law of the plaintist domicile applies.” Broadspring, Inc.
v. Coiigoo, LLC, No. 13 Civ. 1866 (JMF), 2014 WL 4100615, at *6 (S.D.N.Y. Aug. 20, 2014). Here, Plaintiff
is domiciled in Maryland. (Am. Compl. jj 39.) Even if this Court were to apply New York law, the result of
this case would be the same because, as Plaintiff notes, the laws of New York and Maryland regarding
defamation are substantially similar. (Pl. Opp’n to Butowsky at 18 n.3.).

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cannot prove the falsity of a particular statement, the statement will not support an action for
defamation.” Id. (quoting Spengler v. Sears Roebuclc & Co., 878 A.2d 628, 640 (l\/[d. 2005)).

To be defamatory, a statement must be capable of being “obj ectively characterized as true or
false.” Henry v. Nat’l Ass’n ofAir Trajj‘ic Specialisis, Inc., 836 F. Supp. 1204, 1215 (D. Md. 1998)
(citing Potomac Valve & Fiiting Inc. v. Crawford Fitiing Co., 829 F.2d 1280, 1288 (4th Cir. 1987)).
Accordingly, “[s]tatements that cannot be reasonably interpreted as stating actual facts” cannot form
the basis of a defamation claim. Baltimore Sports & Social Club, Inc. v. Spori & Social, LLC, 228 F.
Supp. 3d 544, 550 (D. Md. 2017) (quoting CACI Premier Tech., Inc. v. Rhodes, 536 F.3d 280, 293
(4th Cir. 2008)). A statement of opinion “becomes actionable only if it implie[s] the allegation of
undisclosed facts as the basis for the opinion.” Agora, Inc. v. Axxess, Inc., 90 F. Supp. 2d 697, 704
(D. Md. 2000) (quoting Perouika v. Streng, 695 A.2d 1287, 1298 (Md Ct. Spec. App. 1997)). When
“the reader understands that . . . opinions represent the writer’s interpretation of the facts presented, .
. . because the reader is free to draw his or her own conclusions based upon those facts, th[e] . . .
statement is not actionable as defamation.” Agora, Inc., 90 F. Supp. 2d at 704 (quoting Moldea v.
N.Y. Times Co., 15 F.3d 1137, 1144-45 (D.C. Cir. 1994)); see also Gallardo v. FedEx Kinko ’s Oj”ice
& Pririi Servs., lnc., No. 08 Civ. 392 (JFM), 2008 WL 2143011, at *7 (D. Md. May 12, 2008)
(“[then a speaker plainly expresses ‘a subjective view, an interpretation, a theory, conjecture or
surmise [based on disclosed facts] the statement is not actionable.”’) (quoting Biospherics, Inc. v.
Forl)es, lnc., 151 F.3d 180, 186 (4th Cir. 1998)). “[R]hetorical statements” are also protected,
“because ‘ [t]he general tenor of rhetorical speech, as well as the use of ‘loose, figurative, or hyperbolic
language’ sufficiently negates any impression that the speaker is asserting actual facts.” Baliimore

Sporis, 228 F. Supp. at 550 (quoting Snyder v. Phelps, 580 F.3d 206, 220 (4th Cir. 2009)).

 

 

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Additionally, for purposes of a defamation claim, a statement is not “false” if it is
“substantially correct.” Meaney, 2018 WL 1014927, at *14 (quoting Piscarelli, 35 A.3d at 1147)
(internal quotation marks omitted). “[M]inor inaccuracies do not amount to falsity provided that the
substance or gist of the statement is justified.” Tucker v. Specialized Loan Servicing, LLC, No. 14
Civ. 813 (PWG), 2016 WL 6476286, at *11 (D. Md. Nov. 1, 2016) (quoting Piscatelli, 35 A.3d at
1147). “Put another way, a statement is not considered false unless it would have a different effect
on the mind of the reader from that which the pleaded truth would have produced.” Baison v. Shijleti,
602 A.2d 1191, 1212 (Md. 1992) (quoting Masson v. N.Y. Magazine, lnc., 501 U.S. 496, 517 (1991)
(internal quotation marks omitted)); see also Chesapeake Pub. Corp. v. Williams, 661 A.2d 1169,
1177 (Md. 1995) (finding a statement was not false where “the meaning of [plaintiff’ s] intended
statement was not materially changed by [defendant’s] alteration”).

Here, Plaintiff’s defamation claims are based on five statements: (1) the Email Quote; (2) the
Murder lnvestigation Quote; (3) the Email Statement; (4) the Truth Tweet; and (5) the DNC Tweet.
Because none of the statements can be proven false, Plaintiff has failed to state a claim for defamation

A. The Email and Murder Investigation Quotes

The two quotes in the Article attributed to Plaintiff are not false because Plaintiff has failed to
show that they had “a different effect on the mind of the reader from that which the . . . truth would
have produced.” Masson, 501 U.S. at 517. First, the Email Quote is not materially different from the
statement that Plaintiff acknowledges making in the Fox 5 lnterview “confirm[ing] that a
‘source’ . . . had information that could link Seth Rich to WikiLeaks.” (Am. Compl. jj 122.) Plaintiff
contends his statement in the Fox 5 lnterview differs from the Email Quote because the statement in
the Fox 5 lnterview was referring to “Zimmerman’s and Butowsky’s alleged source,” rather than

information he had learned personally. (Pl. Opp’n to Butowsky Mot. to Dismiss (“Pl. Opp’n to

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Butowsky”, ECF No. 85 , at 18.) But Plaintiff drew no such distinction in the Fox 5 lnterview itself.
ln fact, Plaintiff answered affirmatively when asked if “you have sources” indicating there was
information linking Rich to WikiLeaks. (Terry Decl., Ex. 5 at 3:17-23 (emphasis added).)

Plaintiff also asserts that the reference in the Email Quote to what Plaintiff’s
“investigation . . .shows” Would lead a reader to conclude Plaintiff “had personal knowledge or
concrete evidence,” (Am. Compl. jj 23 8), or that his “personal investigation had conclusively
established” and “independently confirm [ed] that l\/ir. Rich sent . . . emails to WikiLeaks.” (Pl. l\/lem.
in Opp’n to Fox Defs. Mot. to Dismiss (“Pl. Opp’n to Fox”), ECF No. 84, at 18.) However, while an
investigation may be based on personal knowledge or independently corroborated facts, an
investigation may also be based upon sources And the Email Quotefunlike the quote attributed to
the “federal investigator” in the Article, which stated the investigator had “seen and read the
emails”-does riot state or imply that Plaintiff personally reviewed any emails between Rich and
WikiLeaks as part of his investigation (Article at 2.) Because Plaintiff cannot show that the Ernail
Quote had a different effect on the reader than his actual statements in the Fox 5 Interview produced,
the Email Quote is not provably false.

For similar reasons, Plaintiff has also failed to allege that the Murder Investigation Quote is
false, because it is not materially different from the statements Plaintiff made in a text message he
sent Zimrnerman, and the statements he made during the Fox 5 lnterview. Plaintiff alleges that he
“provided a quote” to Zimmerrnan “regarding Debbie Wasserman Schultz and Donna Brazile, two
former chairs of the DNC who apparently called Detective Della-Camera to inquire as to why Mr.
Wheeler was investigating the Rich murder.” (Am. Compl. jj 120.) ln the text message providing the
quote to Zimmerman, Wheeler stated that “Donna Brazil[e] . . . was asking jDella-Camera] why was

[Plaintiffj snooping around asking questions about the death of Seth [Richj” and that “Debbie

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Wasserman Schultz . . . want[ed] to know how much it was [Plaintiff] was learning.” (Harrison Decl.,
Ex. 6 at 4_5.) Plaintiff contends that the text message differs from the Murder lnvestigation Quote
because it does not “suggest an attempt to . . . block the investigation of Seth Rich’s murder.” (Pl.
Opp’n to Fox at 19.) But it would make little sense for officials at the DNC to contact the MPDC and
ask about Plaintiff unless they were concerned about what Plaintiff might find. in particular,
Plaintiff’s statement that Wasserrnan Schultz’s inquired into “how much” Plaintiff was learning
implies that there was some quantity of information she wished to ensure that Plaintiff did not learn.
(Harrison Decl., Ex. 6 at 5.)

Plaintiff further discussed the MPDC’s investigation during the Fox 5 Interview, noting that
-“a source inside the [MPDC] . . . said, ‘Rod, we were told to stand down on this case.” (Terry Decl.,
Ex 5 at 3 :23_4:1 .) ln the same interview, Plaintiff also stated that he “believe[d] there is a correlation
between the Mayor’s office and the DNC and that is the information that’s going to come out
tomorrow.”8 (Id. at 4:6-8.) Plaintiff argues that his statements in the Fox 5 lnterview differ from the
Murder Investigation Quote because his statements in the Fox 5 Interview do not suggest that the
D.C. government or DNC Was directly responsible for telling the MPDC to “stand down” in
investigating Rich’s murder. (Pi. Opp’n to Fox at 19.) But Plaintift’s reference to a “correlation”

between the D.C. Mayor’s office and DNC implies that he believes the D.C. government and DNC

 

8 Because Plaintiff alleges that on May 15, 2017, Zimrnerman told him the Article would be published
“irnminently,” (Arn. Compl. ‘|l 119), Plaintiff s reference in the Fox 5 lnterview to “information that’s going to
come out tomorrow” could reasonably be interpreted as indicating his consent to the publication of the Article.
(Terry Decl., Ex. 5 at 4:8.) Though Plaintiff alleges he told Zirmnerman he could not read drafts of the Alticle
“tliroughout the day” on May 15, Plaintiff provided Zimmerman with quotes during the day and a “separate
quote . . . later that evening.” (Am. Compl. 11 120.) Plaintiff’s provision of those quotes could also reasonably
be interpreted as a manifestation of consent to the Article, which “is a complete defense to a defamation claim.”
Ziemkiewicz v. R+L Carriers, Inc., 996 F. Supp. 2d 378, 398 (D. Md. 2014) (citing McDermott v. Hughley,
561 A.Zd 1038, 1046 (Md. 1939)). Consent need not be actual; “[c]onduct that gives apparent consent is
sufficient to bar recovery.” Maryfand Law Encyclopedia § 40 (2018) (ernphasis added). However, because
Plaintiff has otherwise failed to establish the elements of a defamation claim, this Court need not rely on a
determination that Plaintiff s conduct supports an inference of apparent consent

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may have been involved in preventing the investigation from progressing, even if neither spoke to the
MPDC directly.

Plaintiff also notes that his statements in the text message to Zimmerman and in the Fox 5
lnterview did not expressly refer to the “Clintou team.” (Id.) But Plaintiff acknowledges in his
Amended Complaint that Hillary Clinton was closely affiliated with the DNC and Democratic Party.
(See Am. Compl. il 75 (alleging leaked emails sent by DNC officials “indicat[ed] bias on the part of
the Democratic Party . . . in favor of Hillary Clinton”). The reference to the “Clinton team” Was, at
most, an “alteration” of Plaintiff s actual words that did not “materially change[] the meaning” of his
statements. Chesapeake Pub. Corp., 661 A.Zd at 1177.

Because none of the differences Plaintiff identifies demonstrate that the Murder lnvestigation
Quote had a different effect on the reader than his actual words in the text message to Zimmerman
and the Fox 5 Interview produced, the Murder Investigation Quote, like the Email Quote, is not
provably false.

Even if the quotes in the Article were capable of being proven false, neither could form the
basis for a defamation claim, because neither is defamatory per Se or per quod. The quotes are not
defamatory per se because they simply state what Plaintiff’ s “investigation shows.” (Am. Compl.
1111 129~30 (quoting Article at 2~3).) lt is impossible to ascertain, without comparing Plaintiff’ s
investigation to extrinsic facts (l`. e., the findings of other investigators), whether the findings attributed
to Plaintiff reflect a lack of competence as an investigator. Nor are the quotes defamatory per quod.
The Article expressly states that Plaintiff’ s findings regarding the email exchange between Seth Rich
and WikiLeaks were “consistent wit ” the findings of an unnamed “federal investigator.” (Article at
2.) The Article also impliedly presents the theory that the murder investigation is being blocked as

consistent with the findings of “sources close to the [MPDC]” who stated that the “[MPDC] has no

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suspects and no substantial leads.” (Id. at 4.) Thus, the quotes are not defamatory, because they do
not impugn Plaintiff’s skills as an investigator or otherwise tend to expose him to contempt or ridicule.
To the contrary, they suggest that Plaintiff"s conclusions regarding Rich’s murder are consistent with
those of other investigators9
B. The EmailStatement
In the Email Statement, Zirnrnerman told .loel Rich “much of our information came
from . . . Rod Wheeler, who we understand was working on behalf of you.” (Arn. Compl. il 145.)
The facts as alleged in the Amended Complaint indicate that Plaintiff is a private investigator who
was hired by the Rich family to investigate Rich’s murder, and that Plaintiff provided Zimmerman
with quotes and information about his investigation for the Article. (Id. 1111 39, 95-97, 105, 120.)
Nonetheless, Plaintiff claims the Ernail Statement is false because °‘much” of the information in the
Article did not come from Plaintiff (Pl. Opp’n to Fox at 5; see also Am. Compl. ‘|W 246-47.) But
Zimmerman’s assessment of what amount of information qualifies as “much” is a “subj ective view.”
Gallardo, 2008 WL 2143011, at *7. Thus, the Email Statement is not provably false.
C. Butowsky’s Tweets '
Neither of Butowsky’s tweets can be proven false. The facts alleged in the Amended
Complaint indicate that Plaintiff “inf`ormed various media outlets that he had been misquoted” in the

Article, and that Fox subsequently retracted the Article. (Am. Compl. 111[ 141, 150.) Thus,

 

9 The fact that the quotes in the Article appear to be consistent with information from other sources suggest
that Defendants did not act with actual malice_i.e., “reckless disregard” for whether the quotes were true or
false. Renber v. Fooa' Chem. News, Inc., 925 F.2d ?03, 714 (4th Cir. 1991). “Conclusory statements” will not
suffice, and Plaintiff has not otherwise pled specific facts tending to show the quotes in the Article,
Zirnrnerrnan’s email to Joel Rich, or Butowsky’s tweets were made with actual malice. Velencia v. Drezhlo,
No. 12 Civ. 237 {RDB), 2012 WL 6562764, at *8 (D. Md. Dec. 13, 2012). Because Plaintiff does not dispute
that he is a limited purpose public figure, (see Pl. Opp’n to Butowsky at 23 ), Plaintiff’s failure to plead actual
malice provides a further basis to dismiss his claims. See Freyd v. th'zjield, 972 F. Supp. 940, 943-44 (D.
Md. 1997).

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Butowsky’s statement in the DNC Tweet that the Article was “pulled b/c Rod Wheeler said [he] didn’t
say a quote,” (ia'. 11 175), is Butowsky’s “intelpretation, . . . theory, conjecture or surmise” based on
publicly available facts-i.e., Plaintiff’s statements to media outlets and Fox News’s retraction.
Bz'ospherics, 151 F.3d at 186. The second part of the DNC Tweet, Butowsky’s question, “How much
did the DNC pay him?” (Arn. Compl. 11 175), is a “rhetorical statement.” Baltimore Spor'ts, 228 F.
Supp. at 550. Thus, the DNC Tweet does not contain any statements that can be characterized as
facts and is not provably false.

Second, a reasonable reader would plainly understand that the Truth Tweet is providing
Butowsky’s “interpretation of the facts presented,” Agora, Inc., 90 F. Supp. at 704-11 e., the “this”
he characterizes as “show[ing] Rod Wheeler has a major battle with the truth.” (Am. Compl. 11 201 .)
Butowsky’s statement in the Truth Tweet “everyone needs to hear this,” (ia’. 1[ 179), indicates “the
reader is free to draw his or her own conclusion based upon those facts.” Agora, lnc., 90 F. Supp. at
704. Thus, the Truth Tweet reflects Butowsky’s interpretation of disclosed facts and, as such, is not
provably false.

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ln this case, Plaintiff and Defendants embarked on a collective effort to support a sensational
claim regarding Seth Rich’s murder. Plaintiff cannot now seek to avoid the consequences of his own
complicity and coordinated assistance in perpetuating a politically motivated story not having any
basis in fact.

IV. SANCTIONS ARE NOT WARRANTEI)
ln addition to moving to dismiss Plaintiff’s Amended Complaint, Butowsky moves for

sanctions against Plaintiff and his counsel under Rule l 1, and both parties request attorneys’ fees and

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costs incurred in making and defending the motion.i0 (Sanctions Mem. at 4; Sanctions Opp’n at l.)
“Rule ll ‘is targeted at situations where it is patently clear that a claim has absolutely no chance of
success under the existing precedents, and where no reasonable argument can be advanced to extend,
modify or reverse the law as it stands.”’ Assocz'ared Indem. Corp. v. Fairchfld Inci'us., Inc., 961 F.2d
32, 34 (2d Cir. 1992) (citations and additional internal quotation marks omitted); see also McBurnie
v. Rurledge, 646 F. App’x 108, 112 (2d Cir. 2016) (affirming denial of sanctions when “arguments,
though close to frivolous, contained ‘enough of a kemel of a theory’ to avoid being objectively
unreasonable”). A party that “merely reiterates its arguments in support of [a] motion to
dismiss . . . faills] to demonstrate that Rule 11 motion practice [ijs warranted.” United Specialty Ins.
Co. v. Fisk Firze Art Servs., LLC, No. 15 Civ. 2802 (LTS) (JCF), 2016 WL 1268273, at *5 (S.D.N.Y.
Mar. 31, 2016); see also Fed. R. Civ. P. 11, 1993 Advisory Committee Notes (“Rule 11 motions . . .
should not be employed . . . to test the legal sufficiency or efficacy of the allegations in the
pleadings.”).

“[E]ven when a district court finds a violation of Rule 11, ‘[t]he decision whether to impose
a sanction . . . is . . . committed to the district court’s discretion.”’ i§r)con Collections LLC v. Costco
leolesale Corp., 698 F.3d 58, 63 (2d Cir. 2012). “[S]anctions should be imposed with caution.”
Savino v. Compuier Credz'r, Inc., 164 F.3d 81, 88 (2d Cir. 1998), and “should be reserved for extreme
cases.” Sorenson v. Woifron, 170 F. Supp. 3d 622, 626 (S.D.N.Y. 2016), a]j"’d, 683 F. App’x 33 (2d
Cir. 2017); see also E. Gluck Corp. v. Rorhenhaus, 252 F.R.D. 175, 178 (S.D.N.Y. 2008) (“Courts
may issue Rule ll sanctions only in extraordinary circumstances.”).

Butowsky argues Plaintiff “does not allege a single fact . . . that would support personal

jurisdiction over Butowsky” in his complaint (Sanctions Mem. at 14~15.) However, the complaint

 

10 Rule 11(c) provides, in relevant part, that “{i]f wan'anted, the court may award to the prevailing party the
reasonable expenses, including attorney’s fees, incurred for” a Rule ll motion. Fed. R. Civ. P ll(c)(2).

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alleges that Fox News “has its principal place of business . . . [in] New York, New Yor ” and that
Butowsky is a “frequent contributor to Fox News and Fox Business.” (Compl., ECF No. 1, 111 38,
40.) The Complaint also alleges that Butowsky “sent an email to various Fox News producers and
on air talent” regarding the Article. (Id. 1 78.) These allegations, viewed in the light most favorable
to Plaintiff, could support an inference that Butowsky was in communication with Fox News
personnel in New York regarding the Article. Though an argument for jurisdiction based on such
communications is weak, it contains “enough of a kernel of a theory to avoid being objectively
unreasonable.” McBurm`e, 646 F. App’x at 112. The parties’ remaining arguments as to the merits
of Plaintiff’ s claims simply “reiterate[] {their] arguments” regarding Butowsky’s motion to dismiss
and, as such, do not provide a basis for imposing sanctions. United Specz'ally Ins. Co., 2016 WL
1268273, at *5.

Butowsky also argues Plaintiff’s complaint contains “irrelevant and inflammatory
allegations” designed to discredit Fox, and was filed to pressure Fox into settling several other cases.
(Sanctions Mem. at 22.) The allegations identified by Butowsky_relating to the 2016 Presidential
election, the proposed merger between 21st Century Fox, and Butowsky’s interactions with Hersh
(id. at 22-25)_while not necessary to prove Plaintiff’s defamation claim, could be characterized as
background information, as Plaintiff alleges that they are relevant to Fox’s political and economic
motivations for publishing the Article. (See Am. Compl. 1[1{ 85, 159-60, l63); cf Charles v. Levitt,
No. 15 Civ. 9334 (PAE), 2016 WL 3982514, at *'7 (S.D.N.Y. July 21, 2016) (imposing sanctions
based on “plainly irrelevant” allegations that plaintiff “could not reasonably have believed . . . were
material . . . even as background or commentary”).

Because the circumstances identified by Butowsky are not “extraordinary,” this Court declines

to impose sanctions on Plaintiff or Plaintiff’s former counsel Gluck Corp,, 252 F.R.D. at 178.

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l\/loreover, the situation in which all of the parties now find themselves hardly engenders sympathy
Accordingly, this Court declines to award attorneys’ fees and costs to either party.
V. CONCLUSION
Defendants’ motions to dismiss, (ECF Nos. 74, 78), are GRANTED.
Butowsky’s motion for sanctions and request for attorneys’ fees and costs, (ECF Nos. 43), are
DENIED.
Plaintiff’s request for attorneys’ fees and costs in defending the Rule 11 motion is DENIED.

Datcd: New York, New York
August 2, 2018

SO ORDERED.

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RGE§B. DANIELs
nited States District Judge

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